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Exhibit A
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

__ oe X
In Re: Chapter il
Case No.
01-01139 JKF
W.R. Grace & Co., et al.,
(Jointly
Debtors. Administered)
xX

a ee ee ee ee ee te re ee ee ee ee ee ee ee

May 6, 2009

_— — —_

DEPOSITION of JEFFREY POSNER, held
at the offices of Kirkland & Ellis, 655
Fifteenth Street, N.W., Washington, DC,
commencing at 9:08 A.M., on the above
date, before Lisa Lynch, a Registered
Merit Reporter, New Jersey Certified Court
Reporter, License No. XI00825, and
Certified Realtime Reporter
MAGNA LEGAL SERVICES, LLP
7 Penn Center, 8th Floor
1635 Market Street
Philadelphia, PA 19103
1.866.MAGNA.21

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23
24

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Page 6

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A PP EB ARANC EB S: (continued)

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14 EXHIBITS
15 EXHIBIT ID
16 Exhibit 1 14

Notice of Deposition of Jeffery
17 Posner
18 Exhibit 2 14

Curriculum vitae of Jeffery M.
19 Posner
20 Exhibit 3 14

Affidavit Under 11 USC 327 (e)
21

Exhibit 4 41

22 Asbestos Settlement Agreement

between W.R. Grace & Company-Conn.
23 and the Aetna Casualty & Surety

24

Company dated May 12th,

1996

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1 EXHIBITS
EXHIBIT ID
2
Exhibit 5 68
3 Exhibit 4 to Exhibit Book Trust
Distribution Procedures
4
Exhibit 6 B82
5 First Amended Joint Plan of
Reorganization
6
Exhibit 7 96
7 Agreement between W.R. Grace &
Company-Connecticut and the
8 Travelers Casualty & Surety
Company dated February 20, 1992
9
Exhibit 8 106
10 Exhibit 19 to Exhibit Book,
Retained Causes of Action
11
Exhibit 9 113
12 Answer, Cross~claims and
Counterclaims of Defendant W.R.
13 Grace in re: Maryland Casualty v.
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Exhibit 10 118
15 Royal Indemnity Company
declaration sheets and
16 endorsements SA-870, 891, 939,
945-946
17
Exhibit 11 137
18 Letter dated December 9, 1999 to
Royal & SunAlliance from Marsh USA
19
Exhibit 12 143
20 Letter dated January 12, 2000 from
Royal and SunAlliance to J.M.
21 Posner, Inc., two pages
22 Exhibit 13 196
E-mail string between Janet Baer
23 and Dan Cohn, three pages

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1 EXHIBITS
EXHIBIT ID
2
Exhibit 14 216

3 Monthiy asbestos litigation
Summary Bates stamped 91-1614

4 through 1639

5 Exhibit 15 270
Settlement agreement Bates stamped

6 OB 1 through 33

7 Exhibit 16 273
Settlement Agreement and Release

8 Bates stamped OB 34 through 66

9 Exhibit 17 277
Settlement Agreement and Release

10 Bates stamped OB 67 through 392

11 Exhibit 18 279
Settlement Agreement, Release and

12 Indemnification/Hold Harmless
Agreement Bates stamped SEA 1

13 through 16

14 Exhibit 19 280
Settlement Agreement, Release and

15 Indemnification/Hold Harmless
Agreement Bates stamped SEA 17

16 through 31

17 Exhibit 20 283
Settlement Agreement, Release and

18 Indemnification/Hold Harmless
Agreement Bates stamped SEA 32

19 through 47

20 Exhibit 21 285
Settlement Agreement & Release

21 Bates stamped SEA 48 through 61

22 Exhibit 22 294
LexisNexis printout in re:

23 Maryland Casualty v. Grace, et al.

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1 EXHIBITS
EXHIBIT ID
2
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3 Exhibit 6 to Exhibit Book,

Asbestos Insurance Transfer

Agreement

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Direction to Witness Not To Answer

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Line

6

Request For Production of Documents

Page Line
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Stipulations
Page Line
(None)

Questions Marked
Page Line

(None)

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Page

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Line

Line

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Page 14
1 (Notice of Deposition of
2 Jeffery Posner received and marked
3 for identification as Posner
4 Exhibit 1.)
5 (Curriculum vitae of
6 Jeffery M. Posner received and
7 marked for identification as Posner
8 Exhibit 2.)
9 (Affidavit Under 11 USC
10 327(e) received and marked for \
1 identification as Posner Exhibit
12 3.)
13
14 JEF FREY POS NER,
15 having been sworn by the Notary
16 Public of the States of New York
17 and New Jersey, was examined and
18 testified as follows:
19 es

23

24

MS.

INATION BY

Q. Good ning. Mr. Posner.
oe

A. Good morning. Stag

Q. Good to see you again.“

A,
Whe,

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1 recollection of the conversation. That's,
2 you know, more than nine years ago.
3 Q. For example --
4 A. I'm not saying it didp”"t
5 happen. I just don't have a
6 recollection.
7 Q. For example, the first line
8 on this letter references December 10
9 telephone conversation tween yourself
10 and John Pizetoski. Oo you see that?
11 A. Yes, do.
12 Q. Do Aou remember talking to

13. Mr. Pizetoski out the applicability of
14 Royal's coveyvage for claims arising in
15 Libby in 99?

16 I don't have a specific

17 recolYection. I mean, I know John

18 Piz&toski. I just simply don't have a

19 collection of this specific

conversation. Again, it was more than

nine years ago,

22 Q. Do you recall making a
23. demand on Royal in the 1999-2000 time

24 frame for coverage with specific reference

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1 to asbestos injury claims arising in
2 Libby, Montana?
3 A. Let me say -- let me answer
4 it this way: I would not have made a
5 demand -- well, to the extent the letter

6 went to them, it would have gone to them

7 in error or just as a matter of routine.

8 But the reality is, is that since I had

9 negotiated the 1995 agreement, I knew that
10 Grace had released all asbestos-related

11 claims which would encompass the Libby

12 claims so I would not have made a demand
13 upon them to the extent we sent them a

14 letter providing information because it

15 simply went to them as a matter of

16 routine. Had I gotten a phone call, I

17 probably would have told Royal that, yeah,
18 I mean, I agree with them that the claims
19 were released.

20 Q. Do you agree with me that

21 based on Exhibit 11 it certainly appears
22 that you made a demand for coverage on

23 somebody with reference to the Libby

24 claims in 1999?

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23

24

MS. ESAYIAN: Objection to
form.

MR. SCHIAVONI: Objection,
calls for speculation and I think
this is also a document speaks for
itself objection.

A. Well, I mean, I think if
you look at the December 9 letter, it's
not a demand. It's simply a notice of
claim. So I don't -- I mean, I don't see
it as a demand. It's a notice of
potential loss. But, again, I mean, as I
indicated before, because I negotiated the
agreement, you know, I knew that we had
released those claims.

Q. Can you think of any reason
that you would provide a notice of
potential loss to an insurance company
that you do not believe has coverage
applicable to the loss?

MR. SCHIAVONI: Objection,
asked and answered.

A. What had happened at Grace

was that we were getting in so many claims

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Page 147

1 and we were involved with so many

2 insurance carriers and I always had this

3 concern about missing an insurance carrier
4 that owed us an obligation so I had always
5 instructed the broker that whenever we got
6 claims in to simply send them to everybody
7 on the list, and that list included

8 companies that Grace had settled with and
9 then I indicated to them I would sort it
10 out later.

11 I didn't, you know, want an
12 insurance company to come back to me and
13 say that we failed to notify them of a

14 claim through some inadvertent error so I
15 went through the extra precaution of

16 notifying all carriers, even those with

17 whom we had settled, just to preclude a

18 claim by some carrier that we may have

19 inadvertently missed.

20 Q. Did you ever take the

21 position at any time after the 1995

22 settlement agreement on behalf of Grace

23 that Royal had an obligation to cover

24 claims for personal injury from asbestos

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exposure arising out of Libby, Montana?

A. No, I don't recall I ever
did, nor would I, because, again, I
negotiated the agreement. I understood
how the release worked. Despite the fact
that there may be letters going to Royal
at various points in time, I had always
understood that the claims were released
by the agreement and I never made a demand
upon Royal nor did I ever have any
discussions with them claiming
otherwise.

Q. Did you ever take the
position on behalf of Grace at any time
after the 1995 settlement agreement was
entered into that the settlement agreement
did not release claims for premises
coverage as opposed to products
coverage?

A. Io-- my recollection -- I
don't have the agreement in front of me.
My recollection of the agreement is that
we gave them two releases. We gave them a

complete products release and we gave them

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1 what I'm going to call an asbestos-related
2 release, and the asbestos-related release
3 encompassed not only asbestos products
4 claims but asbestos premises claims.
5 Q. Do you recall any further
6 discussions about Royal's obligation to
7 provide coverage to Grace for the Libby
8 Claims subsequent to the letter marked as
9 Exhibit 12?
10 A. I'm sorry. Conversations
11 with Royal?
12 Q. Conversations or
13 correspondence with Royal.
14 A. I don't have any
15 recollection of corresponding with Royal.
16 Again, Royal may have gotten, you know,
17 letters from Grace as a matter of routine
18 when claims came in but I certainly never
19 had any subStantive discussions with them
20 claiming that they owed coverage for
21 asbestos-related claims because, again, I
22 knew that we had released them as part of
23 the 1995 agreement. orf
24 MR OVACICH: For the

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1 MS. ESAYIAN:
3 questions after nc because, if
4 not, then think Matt might want
to t a heads up with Dan Speights
that we're getting close.

(Off the record.)

8 EXAMINATION BY

9 MR. SCHIAVONI:

10 Q. Mr. Posner, were you

11 personally involved in the negotiations of
12 the 1995 Grace-Royal settlement

13 agreement?

14 A. Yes.

15 Q. Is it fair to say that you
16 participated directly in the negotiation
17 of the 1995 Grace-Royal settlement

18 agreement?

19 A. Yes.

20 Q. Was the 1995 Grace-Royal
21 settlement agreement the product of

22 negotiations between Grace and Royal?

23 A. Yes.

24 Q. Did the negotiations

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1 between Grace and Royal over the 1995

2 settlement agreement span over a period of

3 time?
4 A. Yes.
5 Q. Can you tell us

6 approximately how long those negotiations
7 took place over?

8 A. I can't. I mean, we had

9 preliminary discussions which broke down
10 and subsequent discussions but, I mean, it
11 could have been more than a year. I mean,
12 I don't really remember, sitting here

13 today.

14 Q. It's fair to say that the

15 negotiation of the Grace-Royal settlement
16 agreement wasn't something that took place
17 over a day or two days, right?

18 A. It was certainly longer

19 than that period of time, yes.

20 Q. Is it fair to say that the
21 negotiations of the Grace-Royal settlement
22 agreement took place over a period of at
23 least months?

24 A. To my recollection, that's

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1 a fair statement but I don't recall

2 specifically.

3 Q. Were the negotiations of

4 the 1995 Grace-Royal settlement agreement
5 conducted at arm's length between Grace

6 and Royal?

7 MR. COHN: Object to
8 form.
9 A. And by arm's length you

10 mean?

11 Q. That it was an arm's length
12 negotiation, that there were -- you had no
13 control over each other, you acted on

14 behalf of your own interests and not on
15 behalf of anyone else's interests.

‘16 A. I think that's a fair

17 statement, yes.

18 Q. Was the 1995 Grace-Royal

19 settlement agreement negotiated by Grace
20 in good faith?

21 A. Yes.

22 Q. Do you have any reason to
23 believe that the 1995 Grace-Royal

24 settlement agreement was not negotiated in

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1 good faith by the Royal folks?

2 A. No,

3 Q. Did you, Mr. Posner, do

4 your best as part of the negotiation of

5 the 1995 Grace-Royal settlement agreement
6 to obtain as large a settlement payment as
7 possible from Royal?

8 A. Yes.

9 Q. Did you, Mr. Posner, do

10 your best as part of the 1995 Grace-Royal
11 settlement negotiations to try to obtain
12 the best possible terms for Grace from

13 Royal?

14 A. Yes.

15 Q. Did Grace do due diligence
16 on the coverage that was allegedly issued
17 by Royal as part of the negotiations of
18 the 1995 Grace-Royal settlement

19 agreement?

20 A. Yes.

21 Q. And were you personally

22 involved in those dua diligence efforts,
23 Mr. Posner?

24 A. Yes.

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1 Q. And did the due diligence

2 efforts that were done by Grace include a
3 review of the policies and the terms of

4 the policies allegedly issued by Royal?

5 A. Yes.

6 Q. Counsel for the Libby

7 claimants asked you some questions about
8 what he referred to as premises/operations
9 coverage. Do you remember generally that
10 line of questioning?

11 A. Yes, I do.

12 Q. Were you aware at the time
13 that you negotiated the 1995 Grace-Royal
14 settlement agreement that there was

15 possible coverage for certain types of

16 asbestos bodily injury claims under the
17 premises/operations provisions of the

18 Royal policies?

19 A. Yes.

20 Q. The counsel for the Libby
21 claimants also asked you some questions
22 where I guess he suggested that there

23. might be no aggregate limits for the

24 premises/operations portions of the

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Page 31:
1 coverage under the Royal policies. Do you
2 remember generally those questions?
3 A. Yes, I do.
4 Q. Were you aware at the time

5 that you negotiated the 1995 Grace-Royal
6 settlement agreement that there was a

7 possibility that there might be no

8 aggregate limits for certain asbestos

9 bodily injury claims under the

10 premises/operations provisions of the

11 Royal policies?

12 A. I was aware of that, yes.
13 Q. Was the settlement
14 payment -- the 1995 Royal -- Grace-Royal

15 settlement agreement, it required that a
16 settlement payment be made to Grace. Is
17 that right?

18 A. Yes.

19 Q. Was the settlement payment
20 that was required under the 1995

21 Grace-Royal settlement agreement actually
22 paid to Grace?

23 A. Yes.

24 Q. And was the settlement

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1 amount that was due under the 1995
2 Grace-Royal settlement agreement paid in

3 full to Grace?

4 A. Yes.

5 MR. SCHIAVONI: Thank you
6 very much, sir.

7 THE WITNESS: Thank you.

8 EXAMINATION BY

9 MR. POHLMAN:

10 Q. Mr. Posner, my name is Bill
11 Pohlmtan. I represent The Scotts Company.
12 ou were involved in negotiating

13 settlement\agreements on behalf of Grace

14 with a variet\ of different insurers with
15 respect to asbestos claims, correct?

16 A. Yes.

17 Q. And you ‘were personally

18 involved in the first settlement

19 negotiation that Grace reached with an

20 insurer with respect to asbest claims?
21 A. Yes.
22 Q. And the most recent

23 settlement in 2006?

24 A. Yes.

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Page 334
oT
1 Companies is still in place. ao
a
2 MR. POHLMAN: To the-€xtent
a
ae
3 we have not been provided with
4 copies of the settIement agreements
9° in advance ofthis deposition, I
6 would reserve any rights to examine
7 the-witness further about those
“a
8 _“Cagreements but for the time being
9 a I'm finished. Thank you.
ae THE WITNESS: Thank you.
11 MR. SCHIAVONI: I have one
12 really quick follow-up.
13 MS. ESAYIAN: Okay.
14 EXAMINATION BY
15 MR. SCHIAVONI:
16 Q. The last question I asked

17 you about, in fact there were two Royal
18 settlement agreements, right?

19 A. Yes.

20 Q. The prior one, I asked you
21 about the 1995 settlement agreement.

22 There was one done in May of 1994 between
23 Royal and Grace, right?

24 A. Correct.

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23

24

Q. And it's fair to say you

were personally involved with the

negotiations of the May 1994 Grace-Royal

settlement agreement. Am I right?
A. Yes.
Q. And is it fair to say that

the 1994 Grace-Royal settlement agreement

was the product of negotiations between

Grace and Royal?

MR.

KOVACICH:

I'm going to

object to the leading questions at

this point.

It's obvious the

witness is not adverse on this

subject of your examination.

MR.

SCHIAVONI: Haste makes

waste so I'll withdraw the

question.

Q. Was the May 1994

Grace-Royal settlement agreement the

product of arm's length good faith

negotiations between Grace and Royal?

MR.

KOVACICH:

still leading.

A. Yes.

I mean,

Objection as

not only

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1 that, we were involved in litigation with
2 Royal and, as I recall, the case got

3 settled while the case was being tried.

4 Q. And did the negotiations of
5 the May 1994 Grace-Royal settlement

6 agreement take place over a span of

7 time?

8 MR. KOVACICH: Objection,
9 leading.

10 A. Yes

il Q. And can you give us a sense

12 of how long that took to negotiate?

13 A. I mean, I really can't.
14 Again, it was a lost policies issue. You
15 know, Royal was disputing some of the
16 policies. Litigation, as I recall, began

17 in New York to determine, you know, what
18 the policies were. During the course of
19 that litigation, you know, we settled. We
20 settled it.

21 Q. Okay. But were the

22 negotiations of the May 1994 Grace-Royal
23 settlement agreement the product of days

24 of negotiations --

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1 MR. KOVACICH: Objection,
2 leading.
3 Q. -~ at a minimum?
4 A. I mean, I don't know.
5 These issues, you know, were being
6 discussed with Royal over a period of
7 time. I don't think it would be fair to
8 Say that we were negotiating for days over
9 this. Again, trial had started --
10 Q. Right.
11 A. -- on this issue and, you

12 know, during the trial we had reached a --
13 we reached a settlement.

14 Q. Okay. Did you, Mr. Posner,
15 do your best as part of the negotiation of
16 the May 1994 Grace-Royal settlement

17 agreement to obtain the best possible

18 terms for Grace?

19 A. Yes.

20 MR. SCHIAVONI: Thank you.
21 THE WITNESS: Thank you.
2200 MS. ESAYIAN: Okay. So is
23 Dan Spéights on the line now?

24 MS. DeCRISTOFARO: Lisa,

